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UNITED STATES DISTRICT. COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES AND THE STATE OF NEW
YORK, ex rei.,
LUCILLE ABRAHAMSEN,

                      Plaintiffs,                         Index No.
                                                          14 Civ. 2653 (KMK)
       -against-

HUDSON VALLEY HEMATOLOGY-ONCOLOGY
ASSOCIATES, R.L.L.P. ·et al.

                      Defendant.


      NEW YORK STATE STIPULATION AND ORDER OF S~TTLEMENT AND
                            DISMISSAL

       This Stipulation and Order of Settlement and Dismissal (the "Stipulation") is entered

into by and among the State of New York, acting through the New "York State Office of the

Attorney General, Medicaid Fraud Control Unit ("MFCU") (collectively, the "State") Defendant

Hudson Valley Hematology-Oncology Associates, R.L.L.P. ("Defendant'' or "HVHOA" ") and

Relator Lucille Abrahamsen (the "Relator") (hereinafter tollectively referred to as '1he Parties"),

through their authorized representatives.

       WHEREAS, at all relevant times, HVHOA is a New York limited liability partnership

with its principal executive office located at 19 Baker Avenue, Suite 100, P.oughkeepsie, New

York 12601. The partners and owners ofDefendant HVHOA are Ponciano Reyes, MD, Michael

J. Maresca, MD and Ramamohana Kancherla, M.D. · HVHOA currently has 6 offices in the

State, and employs 14 doctors and about 20 m1rses who perform a variety of hematological and

oncological services; ·
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       WHEREAS, Relator filed an action under seal in the United States District Court for the

Southern District ofNew York on April 14,2014, captioned United States and the State ofNew

York ex. rei., ~ucil/e Abrahamsen v. Hudson Valley Hematology~Oncology Associates, R.L.L.P.;

eta/., Civil Action No. 14 CV 2652 (Stein, J.) (the "Civil Action"), pursuant to the qui tam

provisions of the False Claims Act, as amended, 31   U.~.C.   § 3729 et seq. (the "FCA"), and the

State False Claim~ Act, State Finance Law § 187 et seq. (the "NYFCA''), against the Defendant;

       WHEREAS, the United States .and the State investigated the allegations in the Civil

Action and the State contends that it has certain civil causes of action against Defendant for

engaging in the following conduct hereinafter referred to. as the "Covered Conduct;"

       A.      Current Procedural Terminology Codes (CPT Codes) are used on public and·

private insurance claims forms by physicians to identify procedures and services that have   be~n

rendered to patients. Government payors such· as. Medicare and Medicaid use these codes to

assist in determining whether the ·claims are covere_d and to calculate reimbursement payments.

CPT Codes 99211 ~- 99212, 99213, 992_1 4 and 99215 are used to indicate various degrees of

evaluati~n and management services ("ElM") provided to es~lished patients when they receive

treatment in a physician's office. These codes differ depending on whether the patient is see~ by

a doctor or nurse practitioner, the amount of time spent with the patient, and what services are

performed.

       B.      CPT Code 99211 is used for an office or outpatient visit that may not require the

presence of a physician. The physician must be present in the office suite to provide supervision

to the ·nursing staff when drugs such as chemotherapy are administered to patients. The cost of

the administration of chemotherapy drugs and vitamin supplements, however, is sub~umed or

bundled in CPT Codes 96360~96375 and 96401~96425. Accordingly, when nurses provide a



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variety of routine oncological services to patients, ·claims for such services cannot be

simultaneously billed using Code 99211 and CPT Codes 96360-96375 and 96401-96425.

       C.      According to the New York Medicaid Program Physician Provider Manual, CPT

Code 99212 should be only utilized for offi~ or outpatient ElM visits with established patients

when a doctor spends at least ten minutes face-to-face with the patient. Indeed, coding an· office

vi~it as CPT 99212 when another procedure is billed (i.e., an injection or administration of

chemotherapy (CPT Code 96401-96425)) requires the billing coder to enter a modifier to allow

the additional service charges to be billed as CPT 99212. These modifiers areto be used only

when a separate and d~stinct ElM service is performed.

       D. Between July 2010 and June 2015 (the "Covered Period"), lfVllO failed to comply

with ~edicaid rules and reguiations for reimbursement by billing Medicaid for patient office

visits under CPT Code 99212 in addition to billi~g on the same date for services perfonned by

nurses for other procedures (i.e., an injection or adminiStration of chemotherapy) although the

medical records contain no documentation reflecting that a separate and distinct ElM service was

p~rformed by a doctor. By engaging in this improper practice HVHO simultaneously billed for

the admif?istration ofthe drug by nJJrsing staff and ~IM services.

     · WHEREAS, as a result of the foregoing Covered Conduct, the State alleges that

Defendant kn-;;ingly submitted or caused to be submitted false claims to the State's Medicaid

program, in violation of the New York State False Claims Act, N.y. State Fin. Law §§ 189 et

seq., Social Services Law § 145-b, Executive Law_§ 63(12), Executive Law § 63-c and the

common law.




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        WHEREAS, the United States contemporaneously herewith is entering into a stipulation

with Defendant to resolve the United States' claims against Defendant, which include, among

other things, liability for the Defendant's submission of claims to the Medicare program.

        WHEREAS, the total amount to be paid by Defendant to settle the claims of the United

States and the State for- the Covered Conduct is FIVE MILLION FIVE HUNDRED

THOUSAND DOLLARS ($5,500,000.00) (the "Settlement Amount''); and

        WHEREAS, to avoid the delay, expense, inconvenience, and uncertainty of protracted

litigation of these cause of causes of action, the Parties hereby reach a full· and final settle!Uent

pursuant to the Tenns and Conditions set forth below;

        NOW THEREF.ORE, upon the Parties' agreement, IT IS HEREBY ORDERED that:

                                  TERMS AND CONDITIONS

        I.      The ~tate. hereby represents that it has the authority to enter into this Stipulation

and effectuate a final settlement of the State's claims relating to the.Covered Conduct on behalf

of itself and all counties of the State participating in Medicaid payments to Defendant It is

understood that. Defendant are entering into this Stipulation in reliance upon the foregoing

representations oft:J:le State.

        2.      The Parties consent to this Court's exercise of subject matter jurisdiction over this

action and ·personal jurisdiction over each of them with respect to this action.

        3.      HVHOA hereby admits, acknowledges as true, and accepts responsibility for the

following conduct:

                a. During the Covered Period, HVHOA overbilled Medicaid by billing for

                     evaluation and management services (CPT Code 99212) in addition to billing

                     for routine procedures (such as chemotherapy or injections) administered by a



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                    nurse on the same date, even though HVHOA had not documented that it

                    actually provided any significant, separately identifiable evaluation and

                    management services to the patients.

       · 4;     The total Settlement Amount to be paid by Defendant to settle the claims of the

 United St!ltes and the State related to the Covered Conduct is FIVE MILLION FIVE HUNDRED

 TIIOUSAND DOLLARS ($5,500,000.00)

        5.      Defendant shall pay to the State ONE HUNDRED EIGHT SIX THOUSAND

. DOLLARS ($186,000.00) (the "State Settlement Amount"), Payment of the State Settlement

 Amount shall be made no later than twenty (20) business days after the Effective Date (defined

 below in Paragraph 31 ). The State Settlement Amount shall be paid by certified check made

 payable to the "MFCU Restitution Fund."

        6.      The State Settleme~t Amount represents only the State share of Settlement

 Amount.      The United States share of FIVE MILLION THREE HUNDRED FOURTEEN

 THOUSANI) DOLLARS ($5,314,000.00) will be paid pursuant to separate stipulation between

the United States and Defendant.

        7.      Subject to the provisions. forth.'herein, and conditioned upon Defendant's full

payment of the State Settlement Amount, the State releases Defendant, together with its current
                                                      I

and former parent corporations; direct and indirect subsidiaries; brother or sister corporations;;

·and the corporate successors and assigns_ of any of them ("Defendant's Affiliates") (collectively,

the "Defendant Releasees"); from any civil monetary cause of action that the State has for the

Covered Conduct under the New ·York State False Claims Act, N.Y. State Fin. Law§§ 189 et

seq., Social Services Law § 145-b, Executive Law § 63(12), Executive Law § 63-c, or the




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 common law theories of payment by mistake, money had and received, unjust enrichment and

. fraud;

           8.         Defendant agrees to cooperate fully and truthfully. with the State's investigation of

 individuafs not released in this Stipulation. Upon reasonable notice, Defendant shall encourage,

 and agree not to impair, the cooperation of their dir~ct.ors, officers, ana employ~es, and shall use

 their best efforts to make available, and encourage, the cooperation of former directors, officers,

 and employees for interviews and testimony, consistent with the rights and privileges of all such

 individuals.        Defendant further agrees to furnish to the State, upon request, complete and

 unredacted copies of all non-privileged documents, reports, memoranda of interviews, and

. records in their possession, custody, or control relating to the Covered Conduct that they have

 undertaken; or that has been performed by another on their behalf.

           9.        Notwithstanding the releases given in Paragraph 7 of this Stipulation, or any other

 term of this Stipulation1 the State specifically does not release any person or entity from any of

 the following liabilities:

                a.   . Any civil, criminal or administrative liability arising under state revenue codes;

                b.    Any criminal liability;

                c.    Any administrative liability, including mandatory or permissive exclusion from

                      the State's Medicaid Program;

                d.    Any civil or administrative liability that any person or entity, including any of the

                      Defendant Releasees, has or may have to the State or to individual consumers or

                      state program payors under any statute, regtilation or rule not expressly covered

                      by the rele~se in Paragraph 7 above, including but not limited to, any and all




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                    claims involving unfair and/or deceptive acts and practices and/or violations of

                    consumer protection laws;

                e. Any liability to the State (or its agencies) for any conduct other than the Co~ered

                   Conduct;

             f.    Any liability for personal injury, patient abuse or neglect arising from the Covered

                  · Conduct; and

            g. Any liability based upon obligations created by this Stipulation.

            h. The liability of the individuals.

          10.       Relator and her heirs, successors, attorneys, agents, and assigns shall not object to

 this Stipulation but agree and confirm that this Stipulation is fair, adequate, and reasonable under

 all the circumstances pursuant to N.Y. State Fin. Law § 190(5)(b)(ii). Conditioned upon full

 payment of the State Settlement Amount, the Relator,· for ~erself and for her heirs, successors,

 attorneys, agents, and. assigns, fully and finally and irrevocably releases Defendant and its

 parents and subsidiaries, predecessors, current and former parents, current and former owners,

· shareholders, members, agents, employees, directors, trustees, officers, affiliates, divisions, units,

 direct and indirect subsidiaries, successors, transferees a~d assigns, from any claims the Relator

 has asserted, could have asserted, or may assert in the future arising out of the Covered Conduct,

 including, without limitation, claims under (a) State Fin. Law § 189 et seq., Social Services Law

 § 145-b, or the common law theories of payment by mistake, negligence, unjust enrichment, and

 fraud; and and (b) by reason of any cause, matter, thing, fact, circumstance, event or agreement

 relating to or arising from the Relator's Complaint or the United States Complaint under the

 State Fin. Law § 189 et seq., Social Services Law § 145-b, or the common law theories of

 payment by mistake, negligence, unjust enrichment, and fraud, provided, however, that nothing



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 in this Stipulation shaH preclude Relator from seeking to recover her expenses or attorney's fees

 and costs from Hudson Valley, its owners, successors or assigns pursuant to_ 31 U.S.C. § 3730(d)

and State Fin. Law§ 190(6)(a)(Awards to qui tam plaintiff).

            11.    Conditioned upon the State's receipt of the full amount of the State Settlement

Amount, the State shall pay TWENTY-SEVEN THOUSAND NINE HUNDRED DOLLARS

($27,900) to Relator for her share by electronic        fun~s   transfer in connection with Relator's

claims and allegations regarding the Coveryd Conduct and/or the Overpayments, no later than

twenty-one (21) days after the . State has received payment. of the          S~te   Settlement Amount.
                                                                 .

Relator and her Counsel represent and warrant that they have not assigned, subrogated or

transferred any chums or any interest in any claims falling within -the scope of this paragraph.

Nothing in this Stipulation shall preclude Relator and her Counsel            ~om   seeking to recover

expenses, attorneys' fees, and costs pursuant to. 31 U.S.C. § 3730(d) and State Fin. Law §

190(6)(a)(Awards to qui tam plaintiff).

            12.   Defendant waives and shall not assert any defenses Defendant may have to any

criminal prosecution or administrative action relating to the Covered Conduct, based in whole or

in part on a contention that; unde:r the Double Jeopardy        Clau~e   in the Fifth Amendment of the

Constitution, or under the Excessive Fines C_lause in the Eighth Amendment of the Constitution,
       ..                                                                                           -
_this Stipulation bars a remedy sought in such criminal prosecution or administrative action.

Nothing in this paragraph or any other provision      ofthi~   Stipulation constitutes an agreement by

the State concerning the characterization of the State Settlement Amount for purposes of New

York StateTax Law.

            13.   Defendant and its current and former parent corporations; direct and indirect

subsidiaries, affiliates; brother or sist<?r corporations; divisions; and the corporate successors-and



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 assigns of any. of them, fully and finally release the State, its agencies, officers, agents,

 employees, and servants, from any claims (including attorney's fees, costs, and expenses of

 every kind and however denominated) "that Defendant have asserted," could have asserted, or tnay

 assert in the future against the State, its agencies, officers, agents, employees, and servants;

 related to the Covered Conduct and the State's investigation and prosecution thereof.

          14.     In consideration of the obligations of the Relator set forth in this Stipulation,

 Defendant and all of its predecessors, successors and members together with their current and

 fanner parents, subsidiaries, successors, officers, directors, trustees, servants, employees,

 Defendant' Affiliates and assigns, fully, finally and irrevocably release the Relator and her heirs,

 executors, administrators, estates, successors, attorneys, agents and        a~signs,   from all claims,

 caus~s   or rights of action,   dem~ds,   liabilities, or penalties of any kind or nature whatsoever, in

 law or in equity, that they had, have, or may have, against the Relator arising out of the Covered

Conduct and the Relator's investigation and prosecution thereof.

          15.     Subject to the exceptions in Paragraph 9, and in consideration of the obligations

of Defendant in this Stipulation, and conditioned upon Defendant's timely full payment Qf the

State Settlement Amount, the State agrees to file a stipulation of dismissal with prejudice of the

claims ass~rted in the Civil Action on behalf of the State; provided, however, that the Court shall
                                                                                                            I
retain jurisdiction over this Stipulation and each Party to the extent the· obligations herein remain

·unsatisfied by that Party, including, but not limited to, R<?lator's right to· seek to recover

attorney's fees and costs and expenses from Hudson Valley, its owners, successors and assigns

pursuant to 31 U.S.C. § 3730(d) and State Fin. Law§ 190(6)(a)(Awards to qui tam plaintiff),

          16.    Defendant agrees to the following:




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          a.    Unallowable Costs Defined: All costs (as defined in the Federal Acquisition

Regulation, 48 C.F.R. § 31.205~47; and in Titles XVTII and XIX of the Social Security Act, 42

U.S.C. §§ 1395~_1395kkk and 1396-1396w-5; and the regulations and _official prograJJ? directives

promulgated thereunder) incurred by or_ on behalf of Defendant or their· present or former

officers, directors, trustees, employees, shareholders, and agents in connection with:

                 i.    the matters covered by thi's Stipulation or any stipulation with the United

                       States related to the Covered Conduct;

                ii.    the State's audit(s) and civil ·and any criminal investigat7ion(s) of the

                       matters coveted by this Stipulation or any stipulation with the United

                       States related to the Covered Conduct;

               iii.    Defendant' investigation, defense: and corrective actions undertaken in

                       response to the State's audit(s) and civil and any criminal investigation(s)

                       in connection with the matters covered by this Stipulation (including

                       attorney's fees) or any stipulation with the United States related .to the

                      Covered Conduct;

               iv.    the negotiation and performance of this Stipulation or any stipulation with

                      the United States related to the Covered Conduct; and
                               ..
                v.    the payments Defendant make relating to this Stipulation or any

                      stipulation with the United States related to the Covered Conduct

                      including cqsts and attorney's fees;

are unallowable costs for _government contracting purposes and under the Medicaid Program

(hereinafter referred to as "Unallowable Costs").




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            b.   Future Treatment of Unallowable Costs:· Umillowable Costs shall be separately

 determined and accounted for in n<m·reimbursable cost centers .by Defendant, and Defendant

 shall not charge such Unallowable Costs directly or indirectly to any contracts with the United

 States o~ any State Medicaid program, or seek payment for such Unallowable Costs throu~h any

 Consolidated Fiscal Report ("CFR"), cost report, cost statement, information statement, or

 payment request submitted by Defendant or any of its member corporations or affiliates to the

 Medicaid Programs.

            c.   Treatment of Unallowable Costs Previously Submitted for Payment: Defendant

 further agrees that within ninety (90) days of the Effective Date of this Stipulation ·it shall ·

 identify to applicable Medicaid fiscal agents, any UnaiJowable Costs (as defined in Paragraph

 15(a)) included in payments previously sought from any State Medicaid program, including, ·but

 not limited to, payments sought in any cost reports, cost     ~tatements,   information reports, or

 payment requests already submitted by Defendant or any member corporations or affiliates, and .

 shall request, and agree, that such cost reports, cost statements, information reports, or pa)iment

 requ~ts,   even if already settled, be adjwsted to account for the effect of the inclusion of the

 Unallowable Costs. Defendant agrees that the State, at a minimum, shall be entitled to recoup

 from J?efendant any overpayment plus applicable        in~erest   and penalties as a result. of the

.inclusion of such Unallowable Costs on    previously~submitted
                                                                              -
                                                                   cost reports, information reports,

 cost statements, appeals, or requests for payment. Any payments due after the adjustments have

 been made shall be paid to the State.       The State reserves its rights to disagree with any

 calculations submitted by Defendant or any member corporations or affiliates on the effect of

. inclusion of Unallowable Costs (as defined in this Paragraph) on Defenda!lt' or any member




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 corporations' or ·affiliates' CFRs, cost reports, cost statements, or information reports, appeals or

 other payment requests.

             d.   Nothing in this Stipulation shall constitute a waiver of the rights of the State to·

 audit, examine, or re"examine the books and records of Defendant to determine that no

 Unallowable Costs have been claimed in accord.ance with the provisions of this Paragraph.

           17.    Except as expressly provided to the contrary in this Stipulation, this Stipulation is

 intended for the benefit of the Parties oniy. The Parties do not release any claims against any

 other person or entity, except to the extent provided for in Paragraph 18 (waiver for beneficiaries

 paragraph), below:

           18.    Defendant agrees to waive and shall not seek payment for any of the hea!th care

 billings covered by this Stipulation from any individual health care beneficiaries or their parents,

. sponsors, legally responsible individuals, or 'third party payors based upon the claims defined as

 Covered Conduct

           19.    Except as pf9vided in Paragraphs 10, 11 and 15, each Party shall bear its own

 legal and other    ~osts   incurred in connection with this matter, including the preparation and

 perfonnance of this Stipulation.

         2.0.     Each Party and signatory to this Stipulation represents that it freely and
     --·
 voluntarily enters into this Stipulation without any degree of duress or compulsion.

         21.      Any failure by the State to .insist upon the strict perfonnance of any of the

 provisions of this Stipulation shall not be deemed a waiver of any of the provisions hereof, and

 the State, notwithstanding that failure, shall have the right thereafter to insist upon strict

 perfonnance of any and all of the provisi~ns of this Stipulation.




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        2i      This Stipulation is governed by the laws of the State ofNew York. The exclusive

jurisdiction and venue for any dispute relating to this Stipulation is the United States District

Court for the Southern District ofNew York.

        23".    For purposes of construing this Stipulation, this Stipulation shall be deemed to

have been drafted by all Parties to this ·stipulation and shall not, therefore, be construed against

any Party for that reason in any subsequent dispute.

        24.     This Stipulation constitutes the complete agreement between the Parties with

respect to the subject matter hereof. 'J1lis Stipulation may not be amended except by written

consent of the Parties.

        25.     The undersigned represent and warrant that they are fully authorized to execute

this Stipulation on behalf of the persons and entities indicated below.

        26.     This Stipulation may be executed in cot,mterparts, each of which constitutes an

original and all of which. constitute one and the same Stipulation. Signatures delivered by

electronic mail as ".pdr' attachments to emails shall constitUte acceptable, binding signatures for

purposes of this Stipulation.

        27.     Defendant and its affiliates, officers, directors, agents, trustees, or employees

agree not to take any action or to make or permit to be made any public statement denying,

directly or indirectly, any finding in the Agreement or creating the impression that this

Agreement is without factual basis. Nothing in this paragraph affects Defendant's (a) testimonial

obligations; or (b) right to take legal or factual positions in defense of litigation or other legal

proceedings to which the State is not a party,

       28.     This Stipulation is binding on Defendant' successors, transferees, heirs, executors,

administrators, estates and assigns.



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        29.     Thi~ StipulatiO!J is binding on Relator's successors, transferees, heirs, executors,

 administrators, estates, and assigns.

        30.     Any notices pursuant to this Stipulation shall be in writing and shall, unless

 expressly provided otherwise ~erein, be given by hand delivery, express courier and/or email

followed by postage prepaid fir~ class mail, and addressed as follows:

        TO THE STATE:

       .Sally G. Blinken
        Special Assistant Attorney General, Medicaid Fraud Control Unit
        New York State Office of the Attorney General
        120 Broadway, }3th Floor
        New York, NY 10271
        Telephone: (212) 417-5263·
        Email: Sally.Biinken@ag.ny.gov

       TO DEFENDANT:
       Alfredo F. Mendez, Esq.
       Abrams; Fenstennan LLP
       630 Third Avenue
       5th Floor
       New York, NY 10017
       Tel:·(212) 279-9200, ext. 324
       Email:· amendez@abramslaw .com



       31.     The "Effective Date" of this Stipulation is the date upon which it is entered ~y the

Court ("Effective Date").                                                                              -·- . ...--

Dated: New Yor~,~ York
       October _Lf.!...:;2016




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                               THE STATE OF NEW YORK

                                  ERIC T. SCHNEIDERMAN
                                  Attorney General of the State ofNew York

                                   By:
                                         Sally G       en
                                         Specia Assistant Attorney General
                                         Medicaid Fraud Control Unit
                                         Civil Enforcement Division
                                         120 Broadway, 13th Floor
                                         New York, NY 10271
                                         (212) 417-5263



    DEFENDANT HUDSON VALLEY HEMOTOLOGY"ONCOLOGY ASSOCIATES

  Dated: New York, NY
· Octobe! __, 2016

                                 By:
                                 ALFREDO F. MENDEZ
                                  Counsel for Defendant
                                 Abrams, Fensterman LLP
                                 630 Third Avenue, 5th Floor
                                 New York, NY 10017
                                 Tel: (212) 279-9200, ext. 324
                                 Attorney for Hudson Valley


Dated:               · NY_       By:_ _ _ _ _ _ _ __
         . October____. 2016     Ti*=·---.,-------
                                 Hudson Valley


Dated:                NY         By:._____________
          October __, 2016       Title·--,-~.,..,------­
                                 Hudson Valley


Dated:             ,.NY          By:_ _ _ _ _ _ _ _-,--
         October_·_, 2016        Title:._---:::--------
                                 Hudson Valley



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                                THE SfAIE QFNJW XQRI{
                                    ERIC T. SCHNEIDERMAN
                                    Attomey·Oenerill of the State ofNew York

                                     By:_..,.,.__...,.,...,_ _ _ __
                                         Sally o. Blinkcn
                                         Special Assistant Attorney General
                                         Medicaid Fraud Control Unit
                                         Civil Enforcement Division
                                         120 Broadway, 131h Floor
                                           New York, NY 10271
                                           {212) 417.-5263



   DEFENPANT.HUPSON YALLEX HIMOIQLOGX"ONCOLOGY A8SOCIATES

Dated: New York, NY
      l1..
                                      ~·~~Y.s•
October     2016
                                  Bv:       .
                                  AL~ENDBZ
                                  COunsel for Defendant
                                  Abrams, Fensteiman LLP
                                  630 Third Avenue, 5th Floor
                                  New York, NY 10017
                                  Tel; (212) 279-9200i ext. 324
                                  Attorney for ~udsori Valley


Dated:~~ ·,NY_
       . 00 be)   _,:z_, 2016

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                                  Title                           ·
                                  Hudsooalley


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                                  Hudson alley


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        Dated: /il&rl4l.IWI)   , NY



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        October J.l£_. 2016
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                                      Bj:
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                                            AUomey fof .Lucille Abrahamsen




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